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10   Depot, Inc., Interbond Corporation of America, P.C. Richard & Son Long Island Corporation,
     MARTA Cooperative of America, Inc., ABC Appliance, Inc., and Schultze Agency Services LLC
11
                                  UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
13
      In re Cathode Ray Tube (CRT) Antitrust          Master File No. 3:07-md-05944-SC
14    Litigation
                                                      MDL No. 1917
15
     This Document Relates To:                        [PROPOSED] ORDER GRANTING
16                                                    CERTAIN DIRECT ACTION
      Electrograph Systems, Inc., et al. v.           PLAINTIFFS’ ADMINISTRATIVE
17    Technicolor SA, et al., No. 13-cv-05724-SC ;    MOTION TO SEAL PORTIONS OF
                                                      AMENDED COMPLAINTS PURSUANT
18    Interbond Corporation of America v.             TO CIVIL LOCAL RULES 7-11 AND 79-
      Technicolor SA, et al., No. 13-cv-05727-SC ;    5(d)
19
      Office Depot, Inc. v. Technicolor SA, et al.,
20    No. 13-cv-05726-SC ;

21    P.C. Richard & Son Long Island Corporation,
      et al. v. Technicolor SA, et al., No. 13-cv-
22    05725-SC ;

23    Schultze Agency Services, LLC v.
      Technicolor SA, et al., No. 13-cv-05668-SC
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     [PROPOSED] ORDER GRANTING
                                                                          Master File No. 3:07-md-05944-SC
     CERTAIN DIRECT ACTION PLAINTIFFS’
     ADMINISTRATIVE MOTION TO SEAL
     Case 4:07-cv-05944-JST Document 2279-2 Filed 12/20/13 Page 2 of 2



 1            On December 20, 2013, Direct Action Plaintiffs Electrograph Systems, Inc., Electrograph
 2   Technologies Corp. (“Electrograph”), Interbond Corporation of America (“BrandsMart”), Office
 3   Depot, Inc. (“Office Depot”), P.C. Richard & Son Long Island Corporation (“P.C. Richard”),
 4   MARTA Cooperative of America, Inc. (“MARTA”), ABC Appliance, Inc. (“ABC Warehouse”),
 5   and Schultze Agency Services, LLC (“Tweeter”) filed an Administrative Motion to Seal Portions
 6   of Amended Complaints Pursuant to Civil Local Rules 7-11 and 79-5(d) to file under seal the
 7   highlighted portions of the following documents:
 8               Electrograph’s First Amended Complaint
 9               BrandsMart’s First Amended Complaint;
10               Office Depot’s First Amended Complaint;
11               P.C. Richard’s, MARTA’s, and ABC Warehouse’s First Amended Complaint; and
12               Tweeter’s First Amended Complaint.
13            Having read and considered the papers filed and arguments made by counsel, and good
14   cause appearing, IT IS HEREBY ORDERED that Plaintiffs’ Administrative Motion to Seal
15   Portions of Amended Complaints Pursuant to Local Civil Rules 7-11 and 79-5(d) is GRANTED.
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17   IT IS SO ORDERED
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19   Dated:
                                                           Hon. Samuel Conti
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                                                           UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER GRANTING
                                                                              Master File No. 3:07-md-05944-SC
     CERTAIN DIRECT ACTION PLAINTIFFS’               -1-
     ADMINISTRATIVE MOTION TO SEAL
